Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 11 of
                                                        of 23
                                                           22 PageID
                                                              PageID 151
                                                                     103
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 22 of
                                                        of 23
                                                           22 PageID
                                                              PageID 152
                                                                     104
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 33 of
                                                        of 23
                                                           22 PageID
                                                              PageID 153
                                                                     105
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 44 of
                                                        of 23
                                                           22 PageID
                                                              PageID 154
                                                                     106
Case 3:18-cr-00406-K Document 41 Filed 01/08/19   Page 5 of 23 PageID 155
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 65 of
                                                        of 23
                                                           22 PageID
                                                              PageID 156
                                                                     107
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 76 of
                                                        of 23
                                                           22 PageID
                                                              PageID 157
                                                                     108
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 87 of
                                                        of 23
                                                           22 PageID
                                                              PageID 158
                                                                     109
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 98 of
                                                        of 23
                                                           22 PageID
                                                              PageID 159
                                                                     110
Case
 Case3:18-cr-00406-K
      3:18-cr-00406-K Document
                       Document41
                                41 Filed
                                    Filed01/08/19
                                          01/08/19 Page
                                                    Page10 of 22
                                                         9 of 23 PageID
                                                                 PageID 111
                                                                        160
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 11
                                                     10 of
                                                        of 23
                                                           22 PageID
                                                              PageID 161
                                                                     112
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 12
                                                     11 of
                                                        of 23
                                                           22 PageID
                                                              PageID 162
                                                                     113
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 13
                                                     12 of
                                                        of 23
                                                           22 PageID
                                                              PageID 163
                                                                     114
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 14
                                                     13 of
                                                        of 23
                                                           22 PageID
                                                              PageID 164
                                                                     115
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 15
                                                     14 of
                                                        of 23
                                                           22 PageID
                                                              PageID 165
                                                                     116
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 16
                                                     15 of
                                                        of 23
                                                           22 PageID
                                                              PageID 166
                                                                     117
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 17
                                                     16 of
                                                        of 23
                                                           22 PageID
                                                              PageID 167
                                                                     118
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 18
                                                     17 of
                                                        of 23
                                                           22 PageID
                                                              PageID 168
                                                                     119
Case
Case 3:18-cr-00406-K
     3:18-cr-00406-K Document
                     Document 41
                              41 Filed
                                 Filed 01/08/19
                                       01/08/19 Page
                                                Page 19
                                                     18 of
                                                        of 23
                                                           22 PageID
                                                              PageID 169
                                                                     120
 Case
 Case 3:18-cr-00406-K
      3:18-cr-00406-K Document
                      Document 41
                               41 Filed
                                  Filed 01/08/19
                                        01/08/19 Page
                                                 Page 20
                                                      19 of
                                                         of 23
                                                            22 PageID
                                                               PageID 170
                                                                      121



                                      Count Fifteen
       Using, Carrying, and Brandishing a Firearm During and in Relation to, and
      Possessing and Brandishing a Firearm in Furtherance of, a Crime of Violence;
                                   Aiding and Abetting
                      (In violation of 18 U.S.C. §§ 924(c)(l)(C)(i) and 2)

       On or about December 11,2017, in the Northern District of Texas, the defendant,

Daniel Jenkins, aided and abetted by others known and unknown to the Grand Jury, did

knowingly use, carry, and brandish a firearm, to-wit: a handgun, during and in relation to

a crime of violence, to-wit: carjacking, in violation of 18 U.S.C. § 2119, as alleged in

Count 12 of this indictment, for which the defendant may be prosecuted in a court of the

United States, and the defendant, aided and abetted by others known and unknown to the

Grand Jury, did knowingly possess and brandish said firearm in furtherance of the

commission of this offense.

       In violation of 18 U.S.C. §§ 924(c)(l)(C)(i) and 2.




Superseding Indictment-Page 20
 Case
 Case 3:18-cr-00406-K
      3:18-cr-00406-K Document
                      Document 41
                               41 Filed
                                  Filed 01/08/19
                                        01/08/19 Page
                                                 Page 21
                                                      20 of
                                                         of 23
                                                            22 PageID
                                                               PageID 171
                                                                      122




                                          A TRUE BILL



                                          FO~

ERIN NEALY COX
UNITED STATES ATTORNEY




Trial Attorneys
United States Department of Justice
Civil Rights Division, Criminal Section
601 D StreetN.W., Unit 5134
Washington, D.C. 20004
Telephone: 202-598-7258
Emai rose.gibson@usdoj .gov

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     J'~

Assistant United States Attorney
Texas State Bar No. 24062268
1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699
Telephone: 214-659-8694
Facsimile: 214-659-8805
Email: nicole.dana@usdoj .gov




Superseding Indictment-Page 21
  Case
  Case 3:18-cr-00406-K
       3:18-cr-00406-K Document
                       Document 41
                                41 Filed
                                   Filed 01/08/19
                                         01/08/19 Page
                                                  Page 22
                                                       21 of
                                                          of 23
                                                             22 PageID
                                                                PageID 172
                                                                       123

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION



                          THE UNITED STATES OF AMERICA

                                            v.

                               DANIEL JENKINS (01)
                              MICHAEL ATKINSON (02)



                                     INDICTMENT

                                  18 u.s.c. § 371
            Conspiracy to Commit Hate Crimes, Kidnapping, and Carjacking
                                     (Count 1)

                              18 U.S.C. §§ 249(a)(2) and 2
                          Hate Crime Acts; Aiding and Abetting
                                     (Counts 2-5)

                             18 U.S.C. §§ 1201(a)(1) and 2
                            Kidnapping; Aiding and Abetting
                                     (Counts 6-11)

                                 18 U.S.C. §§ 2119 and 2
                             Carjacking; Aiding and Abetting
                                     (Counts 12-13)

                            18 U.S.C. §§ 924(c)(l)(A)(ii) and 2
      Using, Carrying, and Brandishing a Firearm During and in Relation to, and
     Possessing and Brandishing a Firearm in Furtherance of, a Crime of Violence;
                                Aiding and Abetting
                                      (Count 14)

                             18 U.S.C. §§ 924(c)(l)(C)(i) and 2
      Using, Carrying, and Brandishing a Firearm During and in Relation to, and
     Possessing and Brandishing a Firearm in Furtherance of, a Crime of Violence;
                                Aiding and Abetting
                                      (Count 15)

                                        15 Counts

A true bill rendered
  Case
  Case 3:18-cr-00406-K
       3:18-cr-00406-K Document
                       Document 41
                                41 Filed
                                   Filed 01/08/19
                                         01/08/19 Page
                                                  Page 23
                                                       22 of
                                                          of 23
                                                             22 PageID
                                                                PageID 173
                                                                       124
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DALLAS                                                                                 FOREPERSON

Filed in open court    this~ day of January, 2019.

No Warrant Needed




                                 UNITED STATES MAGISTRATE JUDGE
                                 Criminal Case Pending: 3:18-CR-00406-K
